Case 3:15-md-02670-DMS-MDD Document 2634 Filed 09/30/21 PageID.232193 Page 1 of 3
                                                                    505 Montgomery Street, Suite 2000
                                                                    San Francisco, California 94111-6538
                                                                    Tel: +1.415.391.0600 Fax: +1.415.391.0600
                                                                    www.lw.com

                                                                    FIRM / AFFILIATE OFFICES
                                                                    Austin          Milan
                                                                    Beijing         Moscow
                                                                    Boston          Munich
                                                                    Brussels        New York
                                                                    Century City    Orange County
    September 30, 2021                                              Chicago         Paris
                                                                    Dubai           Riyadh
                                                                    Düsseldorf      San Diego
                                                                    Frankfurt       San Francisco
    FILED VIA ECF                                                   Hamburg         Seoul
                                                                    Hong Kong       Shanghai
                                                                    Houston         Silicon Valley
                                                                    London          Singapore
    John Morrill, Clerk of Court                                    Los Angeles     Tokyo
    United States District Court, Southern District of California   Madrid          Washington, D.C.
    James M. Carter and Judith N. Keep
    United States Courthouse
    Office of the Clerk of Court
    333 West Broadway, Suite 420
    San Diego, California 92101-3806


                   Re:    In re Packaged Seafood Products Antitrust Litigation, 15-md-02670
                            and member cases:
                          (1) Target Corporation v. Bumble Bee Foods LLC et al., 17-cv-01348;
                          (2) Sysco Corporation v. Bumble Bee Foods LLC et al., 18-cv-00387; and
                          (3) CVS Pharmacy, Inc. v. Bumble Bee Foods LLC et al., 17-cv-02154

    Dear Mr. Morrill:

            We write in response to the August 31, 2021 notifications from the Office of the Clerk of
    Court stating that Judge Sammartino has a family member who owned stock in Target
    Corporation and Sysco Corporation at the time those companies’ cases were pending against our
    clients StarKist Co. (“StarKist”) and Dongwon Industries Co., Ltd. (“DWI”). The notices stated
    that Judge Sammartino was not aware of her family member’s financial interests at the time the
    Target and Sysco cases were pending, but that the financial interests nevertheless would have
    required recusal under the Code of Conduct for United States Judges. Shortly after these notices
    were docketed, orders of recusal were issued and the multidistrict litigation captioned In re
    Packaged Seafood Products Antitrust Litigation, 15-md-02670 (the “MDL”), including its
    member cases (among them, the Sysco and Target cases), were reassigned from Judge
    Sammartino to Chief Judge Sabraw.

             We respectfully request additional information in order to assess what effect, if any,
    Judge Sammartino’s (or her family member’s) financial holdings may have had on the MDL and
    its member cases, many of which are still pending. In particular, we have become aware of a
    news article published on September 28, 2021 in the Wall Street Journal, which stated that
    “Judge Janis Sammartino of California traded in stocks of . . . CVS Health Corp . . . .” The
    article also identified certain other companies whose stock was reportedly held by
    Judge Sammartino in a “managed account” and stated that Judge Sammartino had “54 conflicts.”
Case 3:15-md-02670-DMS-MDD Document 2634 Filed 09/30/21 PageID.232194 Page 2 of 3
    John Morrill
    September 30, 2021
    Page 2




    CVS Health Corp. is the parent company of CVS Pharmacy, Inc., the plaintiff in MDL member
    case CVS Pharmacy, Inc. v. Bumble Bee Foods, LLC, et al., 17-cv-02154. CVS Health Corp.
    was identified by CVS Pharmacy, Inc. as its “parent company” in a Notice of Party with
    Financial Interest, filed October 20, 2017. ECF No. 3. However, we have not received a
    notification about Judge Sammartino’s ownership of CVS Health Corp. stock similar to the
    notifications we received in the Target and Sysco cases. The article did not indicate the time
    period when Judge Sammartino purportedly held stock in CVS Health Corp., which is part of the
    reason for our letter today and our request to this Court for further information.

            We realize that it can be difficult to stay abreast of all of the parties who have been
    involved in this MDL; it has involved hundreds of different parties, with many different parent
    companies and shareholders over the years. The Sysco and Target cases—in which we did
    receive notices of Judge Sammartino’s conflicts—are just two of dozens of related member cases
    in the MDL, which has been pending in the Southern District of California since 2015. The
    MDL was organized into four tracks: (1) “Direct Action Plaintiffs” (“DAPs”), which included
    retailers and distributors such as Target and Sysco who purchased packaged tuna directly from
    the defendants; (2) Direct Purchaser Plaintiffs (“DPPs”), a proposed class of retailers,
    wholesalers, and distributors who purchased packaged tuna directly from defendants; (3) End
    Payer Plaintiffs, consisting of consumers who indirectly purchased defendants’ packaged tuna
    for consumption from retailers; and (4) Commercial Food Preparer Plaintiffs, consisting of
    individuals and companies who indirectly purchased defendants’ bulk-sized tuna from Sysco or
    five other specifically identified distributors.

            The proceedings in these four plaintiff tracks have been voluminous, complex, and
    interconnected. For instance, according to a motion filed in December 2020 by counsel for the
    DPPs, DPP counsel performed a “significant amount of important work on behalf of all members
    of the DPP Class,” including retailers that have or could bring their own lawsuits—such as
    Sysco, Target, CVS, and others. See MDL ECF No. 2446-1 at 9-10 (emphasis added) (seeking
    an order requiring defendants to set aside 25% of all settlements with putative DPPs in an escrow
    account for the benefit of putative class counsel). During the six years that Judge Sammartino
    presided over the MDL, the Judge issued orders that simultaneously determined the scope of
    DAPs’ and putative DPP class members’ claims, including various orders on motions to dismiss.
    See MDL ECF Nos. 283, 295, 492. Judge Sammartino also issued an Order Granting Motions
    for Class Certification, which certified three proposed classes of plaintiffs, some of whom
    purchased packaged tuna from Sysco, Target, or CVS. That Order is currently under review by
    an en banc panel of the Ninth Circuit after a panel decision vacating the Order. See MDL ECF
    Nos. 1931, 2247.

           Given the complexity and interrelated nature of the parties, claims, and cases in this
    MDL, we respectfully request further information from the Court so that we may confirm that all
    relevant financial interests have now been disclosed, determine whether there were other
Case 3:15-md-02670-DMS-MDD Document 2634 Filed 09/30/21 PageID.232195 Page 3 of 3
    John Morrill
    September 30, 2021
    Page 3




    undisclosed financial interests relevant to the MDL,1 and evaluate whether our clients’ interests
    may have been compromised.

            Specifically, we ask that the Court share with us information regarding the financial
    interests that Judge Sammartino and her family members held including, for example, the names
    of the companies whose stock was owned by them during the pendency of the MDL, the number
    of shares held, the dates when any shares were acquired or sold, if applicable, and the date(s) and
    circumstances related to Judge Sammartino’s discovery of the relevant financial interests. We
    understand the sensitive nature of such personal and financial information and would welcome a
    discussion about the type of information to be shared. We would also welcome receiving this
    information pursuant to the Protective Order in this action or through some other means that
    would safeguard any confidential information.

            Finally, the parties in this MDL were notified of Judge Sammartino’s family member’s
    stock ownership in Target Corporation on August 31, 2021. However, we note that a nearly
    identical letter was sent to the parties in another action involving Target Corporation four weeks
    earlier on August 3, 2021. See The Eclipse Group LLP v. Target Corporation et al., 15-cv-
    01411, ECF No. 270. We would appreciate understanding the reason for the timing of the
    notification in our case and whether there are any additional notifications that the Court
    anticipates making in the future.

             Please do not hesitate to contact us should you have any questions about our request.


                                                  Very truly yours,

                                                  s/ Belinda S Lee

                                                  Belinda S Lee
                                                  of LATHAM & WATKINS LLP
                                                  Counsel for Defendants StarKist Co. and
                                                  Dongwon Industries, Co., Ltd.




    1
      For instance, we note that a letter to the parties in The Eclipse Group LLP v. Target
    Corporation, 15-cv-01411, indicates that a member of Judge Sammartino’s family owned stock
    in Amazon during the pendency of that case, which was initiated just weeks before this MDL
    began. See ECF No. 271. Amazon is an absent member of the putative DPP Class in this MDL
    and a retailer that was discussed repeatedly during our class certification hearings.
